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                   EXHIBIT 1
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    Business Technology : Oracle: Customers Pay Us for Stuff We1d Do Anyway                                                                                                                                                                                                                                                                                       Page 1 of 1

    September 25, 2008. 3:12 pm

                            . Customers Pay Us for Stuff We'd Do Anyway
    What's good for a tech company's shareholders isn't always the same as what's good for its customers. That was·clear .at Oracle's analyst day Thursday.

                                                                         Downtown San Francisco this week has been turned into a pleasure dome for about 40,000 Oracle customers, who get to hear
                                                                         reassuring keynotes from bigwig tech exces, attend countless parties, and take in a c,oncert featuring Seal, UB40, Elvis Costello
                                                                         and other aging rockers. All of it is supposed to make them feel good about the techm;J}ogy they're buying from Oracle.

                                                                         Two blotks away in a meeting hall at the SL Regis Hotel, Oracle was telling a differe~t story for a different audience. Here,
                                                                         Oracle execs sought to reassure financial analysts that the company's revenue and profits would stay strong through any
                                                                         economic downturn.. The reason: so-called· maintenance revenue., annual payments that custome~ make to Oracle for customer
                                                                         service and the right to upgrade to new versions of the company's softwaie.

                                                                         "We get to keep virtually all of that money," said Oracle Co•Prcsident Sllfra. Catz. Sure, some of that goes to customer service,
                                                                         but Cab: said that mostly customers are paying for access to the new software- and Oracle is going to develop that new
                                                                         softwan: regardless of whether customers pay them maintenance fees. For Oracle, maintenance is pretty much free money,
                                                                         about $10.5 billion worth in its 2008 fiscal and about $1.5 billion more than that this year. "When many customers just send you
                                                                         money for something you're doing anyway, you literally can't help [but increase profits]," said Catz.
    Orad~ W3'1ts Wall Street to
    lulow !hat It SWims in m<Jiley
                                Juergcn Rottler. Oracle's executive vice president of customer services, picked up on the faot that Ca1z minimized the role ofhis
    organization. "We don't take anything for granted,., he said, adding that Oracle's customer-satisfaction rate has hit record levels for 13 straight quarters.
    Still, many busine:~se~ consider maintenance a necessary evil. And with tech departments looking for ways to cut costS, we bet that many don't teet the
                                                                                                                                                                                                                                                                                                                                                                                                                             .:::•
    same way about maintenance as Oracle's investors.

    ~Ben Wortbe•


    Image: Tracy 0 via Flickr

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    Read more: Economy. Enterprise Tech


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    Just goes to show you, .. a fool and their money are soon parted; and boy Oracle is sure making it& customers out to be fools.

    Comment by jsc2008 ~ September 25, 2008 at 5:29 pm

     Sounds like she's showing off, and I wonder why. Its almost fooli5b of her to do so. If you break aut software license sales from Oracle and look at the
     income statement of building and selling software, it would be a. !IIDney losing operation. Software license gets aold at huge discounts, and does not recover
     its cost when it is sold. Its a fixed cost. It recovers its cost over time thru maintenance revenue., and that's how the company keeps building the software out
    .further and modernizing it So you can'tjust look at maintenance revenue and oosfs stand-alone.

    Comment by anonymous • September 26, 2008 at I;12.,pm

    This Catz is ~ cool she, not he.

    Comment by Doofus Alert· September 28, 2008 at I :J l iim

    this is stupid i will not read this hiya!

    Comment by Cam· October 9, 2008 at 10:40 pm.
    Post a Comment




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    http://blog~.wsj.com/biztechl2008/09/25!oracle-customers-pay-us-for-stuff-wed-4o-anyway/ .                                                                                                                                                                                                                                                                      3/10/2009
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